       Case 1:20-cv-10718-GHW-DCF Document 11 Filed 01/12/21 Page 1 of 2
                                                                USDC SDNY
                                                                DOCUMENT
                                                                ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                    DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                   DATE FILED: 1/12/2021
 -------------------------------------------------------------X
                                                              :
 PHYLLIS FERRO,                                               :
                                                              :
                                                   Plaintiff,:
                                                              :   1:20-cv-10718-GHW
                              -against-                       :
                                                              :         ORDER
 MUFG UNION BANK, N.A.,                                       :
                                                              :
                                               Defendant.:
 ------------------------------------------------------------ X

GREGORY H. WOODS, United States District Judge:

        To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster

disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

assigned Magistrate Judge.

        If both parties consent to proceed before the Magistrate Judge, counsel for the defendant

must, no later than January 26, 2021, file on ECF a fully executed Notice, Consent, and Reference

of a Civil Action to a Magistrate Judge form, a copy of which is attached to this order (and also

available at https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf). The executed form

should be filed on ECF as a “Proposed Order,” and be described using the “Consent Order” filing

event in accordance with ECF Rule 13.18. If the Court approves that form, all further proceedings

will then be conducted before the assigned Magistrate Judge rather than before me. Any appeal

would be taken directly to the United States Court of Appeals for the Second Circuit, as it would be

if the consent form were not signed and so ordered.

        If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, no later than January 26, 2021, advising the
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Court that the parties do not consent, but without disclosing the identity of the party or parties

who do not consent. The parties are free to withhold consent without negative consequences.

 SO ORDERED.

 Dated: January 12, 2021                          _____________________________________
                                                           GREGORY H. WOODS
                                                          United States District Judge




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